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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 MICHAEL ROBERT PERSKY,
                                                  Case No. 2:13-CV-00541-EJL
                    Petitioner (Defendant),                2:12-CR-00012-EJL

        v.                                        MEMORANDUM DECISION AND
                                                  ORDER
 UNITED STATES OF AMERICA,

                    Respondent (Plaintiff).


       Pending before the Court in the above entitled matter is Petitioner Michael Robert

Persky’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence by a

Person in Federal Custody (Dkt. 1 in civil case, Dkt. 189 in criminal case). The

Government filed its answer to the motion on April 14, 2014 (Dkt. 22). Without leave of

the Court, Persky filed a supplemental memorandums (Dkt. 9, 12, 16, 28, 30). The Court

stayed the case pending a decision by the United States Supreme Court in 2016 relating to

recalling a jury after the jury is discharged. The Court allowed supplemental briefing after

the Supreme Court’s ruling in Dietz v. Bouldin, __ U.S. __, 136 S. Ct. 1885 (2016). The

motion is now ripe for the Court’s consideration and the Court finds Persky’s § 2255

motion should be denied.




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                               FACTUAL BACKGROUND

       A jury convicted Persky of eighteen counts of mail and wire fraud on

October 19, 2012. Dkt. 101.After the verdict was accepted by the Court, it was discovered

that the jury did not have all pages of one exhibit when they deliberated. Within 35

minutes of the verdict being received by the Court and the jurors excused, counsel for the

government discovered the exhibit issue. The Court immediately directed the jury

commissioner to call all jurors and advise them that an issue had come up and further

deliberations maybe be required. See Minutes, Dkt. 95. The jurors were instructed not to

discuss the case with anyone, to heed the admonitions of the Court previously given and

to report back to the courthouse the next time the Court was in Coeur d’Alene, Idaho the

first week of November. Id.1

       Counsel for Persky moved for a mistrial. The Court requested briefing.

Defendant’s brief was filed on October 29, 2012 and the Government’s response was

filed on November 1, 2012. Dkts. 103 and 105. The Court issued its ruling denying the

motion for a mistrial on November 2, 2012. Dkt. 106. Due to the unavailability of some

of the jurors in early November, the Court continued the matter to December 3, 2012, the

next time the Court was in Coeur d’Alene. Dkt. 106.

       On December 3, 2012, the jurors returned to the courthouse and the Court

confirmed no juror had discussed the case since they were excused on October 13, 2012


       1
        The District of Idaho covers the entire state of Idaho. The Court hears matters in
Boise, Pocatello and Coeur d’Alene. The Court travels to Coeur d’Alene once a month.
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and there were no reasons which prevented any juror from continuing to sit as a qualified

juror in this matter. Transcript, Dkt. 164. The Court instructed the jury on the situation,

read one additional jury instruction and allowed argument by counsel. Id. The jury

deliberated and after an hour and 25 minutes, returned a new verdict finding Persky guilty

on the same 18 counts (Counts 1-12 and 13-20). Id., Minutes, Dkt. 1152, and Second

Verdict, Dkt. 116.

       On February 4, 2013, Persky was sentenced to 24 imprisonment on each count to

run concurrently and three years of supervised release on each count to run concurrently,

$100 special assessment on each count as well as a $1,000 fine on each count plus

restitution in the amount of $92,636.61. Judgment, Dkt. 139, Amended Judgment dated

March 7, 2013, Dkt. 153. A Final Order of Forfeiture was entered by the Court. Dkt. 172.

       Petitioner did not file a direct appeal. Petitioner timely filed his § 2255 motion on

December 30, 2013. In his motion, he claims ineffective assistance of counsel because his

counsel failed to file a direct appeal, failed to move the Court to sever his trial from the

trial of his co-defendant, failed to renew his motion for a mistrial. Persky claims his rights

under the Double Jeopardy clause were violated when the jury deliberated a second time.




       2
        The Minutes are dated “10/10/12” but this is a typographical error. The docket
notes that additional attachments were added to the Minutes on 12/10/2012. The Court
confirmed the contents of the Minutes by examining the Transcript of 12/3/2012, Dkt.
164.
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                     STANDARD FOR EVIDENTIARY HEARING

       Pursuant to 28 U.S.C. § 2255, the Court recognizes that a response from the

government and a hearing are required “[u]nless the motion and the files and records of

the case conclusively show that the prisoner is entitled to no relief....” Furthermore, a

hearing must be granted unless the movant’s allegations, “when viewed against the

record, either fail to state a claim for relief or are ‘so palpably incredible or patently

frivolous as to warrant summary dismissal.” United States v. Schaflander, 743 F.2d 714,

717 (9th Cir.); Marrow v. United States, 772 F.2d 525, 526 (9th Cir. 1985). However, a

district court may summarily dismiss a Section 2255 motion “[i]f it plainly appears from

the face of the motion and any annexed exhibits and the prior proceedings in the case that

the movant is not entitled to relief....” Rule 4(b), Rules Governing Section 2255

Proceedings in the United States District Court. Thus in order to withstand summary

dismissal of his motion for relief under Section 2255, defendant “must make specific

factual allegations which, if true, would entitle him to relief on his claim.” United States

v. Keller, 902 F.2d 1391, 1395 (9th Cir. 1990). In the present case, the legal issues do not

require an evidentiary hearing.

                                         ANALYSIS

       1.     Ineffective Assistance of Counsel Claims.

       A Petitioner claiming ineffective assistance of counsel must allege specific facts

which, if proved, would demonstrate that (1) counsel’s actions were “outside the wide

range of professionally competent assistance,” and (2) “there is a reasonable probability

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that, but for counsel’s unprofessional errors, the result of the proceeding would have been

different.” Strickland v. Washington, 466 U.S. 668, 687-690 (1984). Mere conclusory

allegations do not prove that counsel was ineffective. See Shah v. United States, 878 F.2d

1156, 1161 (9th Cir. 1989). A defendant fails to state a claim for ineffective assistance if

he fails to allege facts sufficient to meet either the “performance” or “prejudice” standard,

and the district court may summarily dismiss his claim.

       The Court has reviewed the Petitioner’s motion, and the entire record herein, and

concludes that even assuming the Petitioner has alleged facts sufficient to state a claim of

ineffective assistance of counsel, the Petitioner has failed to allege facts sufficient to

satisfy the “prejudice” prong of the two part test of ineffective assistance of counsel.

Specifically, the Petitioner has failed to demonstrate there is a reasonable probability that,

but for counsel’s alleged unprofessional errors, the result of his case would have been

different.

       Persky had retained counsel represent him at trial. Counsel was an experienced

criminal defense attorney. Persky claims his counsel did not explain his right to appeal

and he was led to believe because he did not have the finances, he could not appeal. At

the sentencing hearing, Persky admitted he got caught and that he had accepted the risk of

his illegal actions to try to save his business. Sentencing Hearing Transcript, Dkt. 165.

Persky is a sophisticated businessman and this was not his first criminal proceeding.

Persky was specifically advised by the Court of his right to appeal. Id., p.16. Contrary to

Persky’s allegations, his former counsel, Mr. Loats, provided an email dated

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February 1, 2013, that he sent to Persky setting out the deadline to appeal and if he could

not afford his services on appeal, the assistance of a public defender could be sought.

Persky does not deny he received the email from his former counsel. Moreover, former

counsel’s affidavit states he also specifically discussed the right to appeal with Persky and

Persky decided not to pursue an appeal. Dkt. 22-1. Therefore, the record is clear that

Persky did not have ineffective assistance of counsel regarding being informed of his

right to appeal, but instead he made the decision not to file a direct appeal. By failing to

appeal, Persky waived his right to renew challenges to the Court’s denial of the motion

for a mistrial and other trial rulings.

       As to Persky’s claim that his counsel was ineffective for failing to move to sever

Persky’s trial from that of his long term girlfriend, this claim lacks factual support. When

Mr. Loats appeared on Persky’s behalf, the Court already had a motion from Ms. Dunkel

to sever. Loats did not object to the motion by Ms. Dunkel. The motion to sever filed by

Ms. Dunkel was denied. So Persky cannot show that there was any prejudice from his

counsel failing to file a second motion to sever. It is ultimately counsel’s strategic

decision, not the client’s about whether or not to file a motion. Wainwright v. Skyes, 433

U.S. 72, 93 (1977).

       To the extent Persky is alleging ineffective assistance of counsel for his attorney

not moving to dismiss based on the Double Jeopardy Clause, this is again not factually

correct. Persky’s counsel did object, move and file a memorandum setting forth why the

Court should not allow the jury to return to deliberate again. This motion was denied.

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Persky has failed to provide a legal basis in his § 2255 motion that would support his

argument that counsel should have filed a motion for reconsideration. Absent legal

authority that the Court was in error, counsel did not violate his professional duties by not

filing a motion for reconsideration. Persky could have raised this issue on appeal and

decided not to file an appeal. This is not ineffective assistance of counsel, it is a

ramification of deciding not to appeal. Persky has failed to show prejudice from counsel’s

decision not to file a motion for reconsideration.

       Further, there was only one jury empaneled in this matter and Persky was only

tried once on the charges. The fact that the jury revisited its verdict after the discovery of

not having had a complete copy of one exhibit does not rise to the level of being tried

twice or punished twice for the same crime under the Double Jeopardy Clause.

       In a supplemental brief, Persky also claims counsel was ineffective for failing to

file a statute of limitations motion. This again misstates the record. Counsel filed a motion

to dismiss wherein he argued various counts in the indictment were barred by the statute

of limitations. Dkt. 36. This motion was denied by the Court. Dkt. 83. There can be no

claim of ineffective assistance of counsel when a motion was filed and the Court ruled

against Defendant on the motion.

       For these reasons all the claims of ineffective assistance of counsel are denied as

Persky has failed to show assistance of counsel must allege specific facts which, if

proved, would demonstrate that (1) counsel’s actions were “outside the wide range of

professionally competent assistance,” and (2) “there is a reasonable probability that, but

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for counsel’s unprofessional errors, the result of the proceeding would have been

different.” Strickland v. Washington, 466 U.S. 668, 687-690 (1984).

       2.      Impact of Dietz v. Bouldin

       Persky argues that based on the recent Supreme Court case, the Court should find

excusing and recalling the jury is a basis to find his Constitutional rights were violated

and his convictions in this matter should be vacated. The Court respectfully disagrees that

such relief is required by the Dietz decision.

       In Dietz, the Supreme Court determined in a civil matter a federal district court has

the inherent power to rescind and recall a jury for further jury deliberations after

identifying an error in the jury’s verdict. 136 S.Ct. at 1893. The Court cautioned “[j]ust

because a district court has the inherent power to rescind a discharge order does not mean

it is appropriate to use that power in every case.” Id. This Court agrees. But under the

facts of this particular case and no objection having been voiced to the delay in having the

jury reconvene, the recall process was proper.

       The Dietz opinion set forth four factors that were relevant to determining if the

recalling of the jury is proper. The Court finds that in applying the four factors set out in

Dietz, the discharge and recalling of the jury in this particular case in the manner in which

it occurred did not violate Persky’s Constitutional rights. First, the delay between the

discharge and the notification to the jurors they would need to deliberate again was less

than an hour. Moreover, all of the jurors confirmed they did not discuss the case with

third parties prior to receiving the call from the jury commissioner and returning to Court

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to deliberate. There is no evidence that any smart phones or internet were accessed or

relevant to this case. Additionally, it is the Court’s standard practice to remove all cell

phones from jurors while deliberating and the documents in this case were all hard copies,

not electronic copies.

       Second, while it is true based on the Court’s calendar in northern Idaho it did have

the jurors continue deliberations immediately, but such was not possible based on the

availability of jurors and the Court. This is a judicial district with two district judges to

cover the entire state and it is simply impossible for the Court to be in northern Idaho

more than once a month based on its case demands in other areas of the state. Counsel did

not object to the delay (only to the decision to reconvene the jury) and it is too late to

object to the continuance of bringing the jury back in the § 2255 motion when such

objection was forfeited. Also, defense counsel wanted the opportunity to brief the matter

before the Court ruled on the motion for a mistrial which was part of the delay.

       Third, the jury had the majority of Exhibit 14 when it originally deliberated and

found the Defendant guilty on 18 counts. After being instructed by the Court, hearing the

second closing arguments of counsel and reviewing the entire Exhibit 14, the verdicts did

not change from the original guilty verdicts. The jury did not deliberate quickly. Instead,

the jury deliberated for nearly an hour and half before it returned the same verdict.

       It is clear to the Court that the missing part of the Exhibit 14 was not material

determining whether the Government had proven the Defendant guilty beyond a

reasonable doubt on each element of each charge. Moreover, the missing part of one

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particular exhibit did not cause the jury to target other facts or arguments not previously

presented. The arguments allowed when the jury reconvened were essentially the same

arguments previously made by counsel.

       Fourth, there is no indication the second verdict was an emotional reaction to first

verdict or to the fact the jurors were called back to consider its verdicts in light of the

complete Exhibit 14.

       While there is a risk of prejudice when a jury is discharged and recalled, in this

particular situation the jurors were notified immediately and there is no indication of any

prejudice or undue third party influence on the jury. The Court inquired and the jurors

responded they had not discussed or been exposed to potentially prejudical information

since their discharge after the original verdicts. If Persky believed he had a legal basis to

appeal the denial of motion for a mistrial, improper jury deliberations or a Double

Jeopardy claim, he should have filed a direct appeal. For all these reasons, the Court

finds this claim for relief must be denied.



                                           ORDER

       IT IS ORDERED:

              1) Persky’s § 2255 Motion (Dkt. 1, and Dkt. 189) is DENIED.




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             2) Based on the denial of the § 2255 Motion all other pending motions filed

by Persky are deemed MOOT [Dkts. 216 and 217 in criminal case, Dkts. 8, 11, 15, 16,

23, 24 (premature as no motion to appeal this Order has been filed), and 29].



                                         DATED: September 1, 2016




                                         Honorable Edward J. Lodge
                                         U. S. District Judge




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